    Jeffrey N. Pomerantz (admitted pro hac vice)
    Jason H. Rosell (admitted pro hac vice)
        Phone: 415.263.7000
        Email: jpomerantz@pszjlaw.com
                jrosell@pszjlaw.com
    PACHULSKI STANG ZIEHL & JONES LLP
    150 California Street, 15th Floor
    San Francisco, CA 94111

    Justin D. Leonard, OSB 033736
    Timothy A. Solomon, OSB 072573
       Direct: 971.634.0194
       Email: tsolomon@LLG-LLC.com
    LEONARD LAW GROUP LLC
    1 SW Columbia, Ste. 1010
    Portland, Oregon 97204

    Proposed Attorneys for Official Committee of Unsecured Creditors

                              UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF OREGON

    In re                                                Lead Case No. 19-32600-dwh11
                                                         (Jointly Administered with Case Nos.
    Wall to Wall Tile & Stone, LLC,                      19-32599-dwh11 and 19-32603-dwh11)
    Wall to Wall Tile & Stone – Oregon LLC,
                                                         APPLICATION TO EMPLOY
    Wall to Wall Tile & Stone – Idaho LLC,               PACHULSKI STANG ZIEHL & JONES
                                                         LLP AS LEAD RESTRUCTURING
                            Joint Debtors.
                                                         COUNSEL FOR THE UNSECURED
                                                         CREDITORS COMMITTEE, AND
                                                         NOTICE THEREON


                                     NOTICE OF APPLICATION
             If you oppose the proposed course of action or relief sought in this application, you must
    file a written objection with the bankruptcy court no later than August 30, 2019.
            If you do not file an objection, the court may grant the motion without further notice or
    hearing. Your objection must set forth the specific grounds for objection and your relation to the
    case. The objection must be received by the clerk of court at 1050 SW 6th Ave #700, Portland,
    OR 97204, by the deadline specified above or it may not be considered. You must also serve the
    objection on movant’s counsel, Pachulski Stang Ziehl & Jones LLP, Attn: Jason Rosell, 150

Page 1 of 6 – APPLICATION TO EMPLOY PACHULSKI STANG
              ZIEHL & JONES LLP AS LEAD RESTRUCTURING                               LEONARD LAW GROUP LLC
              COUNSEL FOR THE UNSECURED CREDITORS                                       1 SW Columbia, Ste. 1010
                                                                                          Portland, Oregon 97204
              COMMITTEE                                                                          leonard-law.com

                          Case 19-32600-dwh11          Doc 90     Filed 08/09/19
    California Street, 15th Floor, San Francisco, CA 94111, within that same time. If the court sets a
    hearing, you will receive a separate notice listing the hearing date, time, and other relevant
    information.

                   The Official Committee of Unsecured Creditors (the “Committee”) of the
    above-captioned debtors and debtors in possession (collectively, the “Debtors”) hereby submits
    this application (the “Application”) to employ Pachulski Stang Ziehl & Jones LLP (“PSZJ” or
    the “Firm”) as its lead restructuring counsel in the above-captioned chapter 11 cases, effective as
    July 31, 2019. In support of this Application, the Committee represents as follows:
                                    JURISDICTION AND VENUE
                   1.      This Court has jurisdiction over this Application pursuant to 28 U.S.C.
    §§ 157 and 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
                   2.      The statutory predicate for the relief sought herein is section 1103 of Title
    11 of the United States Code (the “Bankruptcy Code”).
                                            BACKGROUND
                   3.      On July 16, 2019 (the “Petition Date”), the Debtors commenced the
    above-captioned cases by filing voluntary petitions for relief under chapter 11 of the Bankruptcy
    Code.
                   4.      On July 26, 2019, the Office of the United States Trustee appointed a four-
    member Official Committee of Unsecured Creditors. Subsequent to such appointment, one
    member of the Committee resigned. Pursuant to the 2nd Amended Appointment of Committee of
    Unsecured Creditors [Docket No. 59], the members of the Committee are: (i) Cosmos Granite

    (West), LLC; (ii) Fortuna Granitos Corp., and (iii) C&C North America, Inc. (d/b/a Cosentino
    North America).




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              ZIEHL & JONES LLP AS LEAD RESTRUCTURING                               LEONARD LAW GROUP LLC
              COUNSEL FOR THE UNSECURED CREDITORS                                       1 SW Columbia, Ste. 1010
                                                                                          Portland, Oregon 97204
              COMMITTEE                                                                          leonard-law.com

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                        APPLICATION TO RETAIN AND EMPLOY THE FIRM
                   5.       By this Application, pursuant to section 1103 of the Bankruptcy Code, the

    Committee seeks to employ the Firm as its lead restructuring counsel to the Committee, effective
    as of July 31, 2019, to perform the legal services set forth herein.
                   6.       Pursuant to section 1103(b) of the Bankruptcy Code, an attorney
    employed to represent the Committee may not, while employed by such committee, represent
    any other entity having an adverse interest in connection with this case. 11 U.S.C. § 1103(b).
    The Firm has advised the Committee that the Firm does not represent any other entity having an
    adverse interest in connection with the Debtors or these cases.
                   7.       After interviewing four (4) law firms, including three (3) law firms located
    within Oregon, the Committee selected the Firm as its lead counsel because of the Firm’s
    extensive expertise and knowledge in the area of chapter 11 insolvency and business
    reorganizations and the complex issues that may arise in the process of a chapter 11 plan of
    reorganization. The Firm has served as counsel to unsecured creditors’ committees in various
    chapter 11 cases. In addition, the Firm has served as general bankruptcy counsel to a wide range
    of debtors. The Firm also has extensive experience representing trustees, individual creditors,
    special interest committees, asset purchasers, and investors in restructurings. The Firm’s depth
    of experience in the areas of insolvency, business reorganizations, and debtor and creditor
    matters makes it highly qualified to represent the Committee. Therefore, the Committee believes
    that the Firm’s retention is in the best interest of the Debtors’ unsecured creditors.
                   8.       The Committee seeks to engage the Firm to render the following services
    to the Committee, among others, and only to the extent necessary:

                   •    to assist, advise, and represent the Committee in its consultations with the
                        Debtors and other creditor constituencies or parties in interest regarding the
                        administration of this case;
                   •    to assist, advise, and represent the Committee in analyzing the Debtor’s assets
                        and liabilities, investigating the extent and validity of liens and participating in

Page 3 of 6 – APPLICATION TO EMPLOY PACHULSKI STANG
              ZIEHL & JONES LLP AS LEAD RESTRUCTURING                                  LEONARD LAW GROUP LLC
              COUNSEL FOR THE UNSECURED CREDITORS                                            1 SW Columbia, Ste. 1010
                                                                                               Portland, Oregon 97204
              COMMITTEE                                                                               leonard-law.com

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                         and reviewing any proposed asset sales, other asset dispositions, financing
                         arrangements, and cash collateral stipulations or proceedings;
                   •     to assist, advise, and represent the Committee in any manner relevant to
                         reviewing and determining the Debtor’s rights and obligations under
                         unexpired leases and executory contracts;
                   •     to assist, advise, and represent the Committee in investigating the acts,
                         conduct, assets, liabilities, and financial condition of the Debtors, the
                         operation of the Debtors’ business and the desirability of the continuance of
                         any portion of the business, and any other matters relevant to these cases or to
                         the formulation of a plan;
                   •     to assist, advise, and represent the Committee in its participation in the
                         negotiation, formulation, and drafting of a plan of reorganization or
                         liquidation;
                   •     to provide advice to the Committee on the issues concerning the appointment
                         of a trustee or examiner under section 1104 of the Bankruptcy Code;
                   •     to assist, advise, and represent the Committee in the performance of all of its
                         duties and powers under the Bankruptcy Code and the Bankruptcy Rules and
                         in the performance of such other services as are in the interests of those
                         represented by the Committee; and
                   •     to assist, advise, and represent the Committee in the evaluation of claims and
                         any litigation matters.
                   9.       Notwithstanding the foregoing, PSZJ will work closely with the
    Committee’s local counsel, and any other professionals retained by the Committee, to ensure
    that there is no unnecessary duplication of services performed or charged to the Debtors’ estates.
                   10.      Subject to the applicable provisions of the Bankruptcy Code, the
    Committee proposes that the Firm be paid by the Debtors on an hourly basis and be reimbursed
    by the Debtors according to its customary reimbursement policies, provided, however, that, with
    respect to its attorney timekeepers, the Firm has agreed in this case to charge $680 per hour for
    all attorney timekeepers. The Firm has represented to the Committee that Messrs. Pomerantz
    and Rosell are the attorneys of the Firm currently expected to be principally responsible for this
    case, and their customary hourly rates are: Jeff Pomerantz ($1,025) and Jason Rosell ($695).
    The hourly rate of the Firm’s paralegal assigned to these cases is $395.00.



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              ZIEHL & JONES LLP AS LEAD RESTRUCTURING                                LEONARD LAW GROUP LLC
              COUNSEL FOR THE UNSECURED CREDITORS                                        1 SW Columbia, Ste. 1010
                                                                                           Portland, Oregon 97204
              COMMITTEE                                                                           leonard-law.com

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           The Firm has represented to the Committee that (i) it will not receive a retainer and (ii) it
    categorizes its billing into subject matter categories in compliance with applicable guidelines.

    The Firm understands that its compensation in these cases is subject to the applicable provisions
    of the Bankruptcy Code.
           To the best of the Committee’s knowledge, the Firm is “disinterested” in that it has no
    connection with the Debtors, their creditors, any other party in interest herein, their respective
    attorneys or professionals, the United States Trustee or any person employed in the Office of the
    United States Trustee. Moreover, the Firm does not hold, or represent any entity having, an
    adverse interest in connection with the Debtors or these cases. The Firm does not employ any
    person who is related to a judge of this Court. Accordingly, the Firm is qualified to represent the
    Committee under section 1103 of the Bankruptcy Code.
           WHEREFORE, the Committee requests that this Court approve the employment of
    Pachulski Stang Ziehl & Jones LLP as its lead restructuring counsel, effective as of July 31,
    2019, to render services as described above with compensation to be paid as an administrative
    expense at such times and in such amounts as the Court may hereafter determine and allow under
    sections 507(a) and 503(b) of the Bankruptcy Code.
                   DATED: August 9, 2019
                                                     OFFICIAL COMMITTEE OF UNSECURED
                                                     CREDITORS

                                                     Cosmos Granite (West), LLC, solely in its
                                                     capacity as Committee Chairperson and not in
                                                     its individual capacity
                                                     By: /s/ Jaishri Nallapati
                                                          Jaishri Nallapati, as Duly-Authorized
                                                          Representative of Cosmos Granite (West), LLC
    ACCEPTED BY:
    PACHULSKI STANG ZIEHL & JONES LLP
    By: /s/ Jason H. Rosell
        Jason H. Rosell (admitted pro hac vice)
        Phone: 415.263.7000
        Email: jrosell@pszjlaw.com
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              ZIEHL & JONES LLP AS LEAD RESTRUCTURING                               LEONARD LAW GROUP LLC
              COUNSEL FOR THE UNSECURED CREDITORS                                       1 SW Columbia, Ste. 1010
                                                                                          Portland, Oregon 97204
              COMMITTEE                                                                          leonard-law.com

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    FILED BY:
    LEONARD LAW GROUP LLC
    By: /s/ Timothy A. Solomon
         Timothy A. Solomon, OSB 072573
         Direct: 971.634.0194
         Email: tsolomon@LLG-LLC.com
    Proposed Counsel for Unsecured Creditors Committee




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              ZIEHL & JONES LLP AS LEAD RESTRUCTURING                     LEONARD LAW GROUP LLC
              COUNSEL FOR THE UNSECURED CREDITORS                            1 SW Columbia, Ste. 1010
                                                                               Portland, Oregon 97204
              COMMITTEE                                                               leonard-law.com

                       Case 19-32600-dwh11      Doc 90   Filed 08/09/19
                             UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF OREGON

   In re                                                 Lead Case No. 19-32600-dwh11
                                                         (Jointly Administered with Case Nos.
   Wall to Wall Tile & Stone, LLC,                       19-32599-dwh11 and 19-32603-dwh11)
   Wall to Wall Tile & Stone – Oregon LLC,               ORDER AUTHORIZING EMPLOYMENT
   Wall to Wall Tile & Stone – Idaho LLC,                OF PACHULSKI STANG ZIEHL & JONES
                                                         LLP AS COUNSEL FOR THE
            Joint Debtors.                               UNSECURED CREDITORS COMMITTEE

                  This matter came before the Court pursuant to the Application by the Official

   Committee of Unsecured Creditors (the “Committee”) to Pachulski Stang Ziehl & Jones LLP

   (“PSZJ”) as Local Counsel filed on August __, 2019 (Docket No. __) (the “Application”).

   Based on the Application and the documents submitted in support thereof, including LLG’s

   Verified Rule 2014 Statement, and after due deliberation the Court having determined that the

   relief requested in the Application is in the best interests of the Joint Debtors’ Estates and their

   creditors; NOW, THEREFORE, it is ORDERED:

           1.     The Application is approved. Pursuant to 11 U.S.C. §§ 1103(a) and 328, the

    Committee is authorized to employ the law firm of Pachulski Stang Ziehl & Jones LLP as



Page 1 of 2 – ORDER AUTHORIZING EMPLOYMENT OF              LEONARD LAW GROUP LLC
              PACHULSKI STANG ZIEHL & JONES LLP AS COUNSEL          EXHIBIT
                                                              1 SW Columbia,  Ste. 1010A
              FOR THE UNSECURED CREDITORS COMMITTEE             Portland, Oregon 97204
                                                                                              Page      1 of 2
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    counsel effective as of July 31, 2019, to perform the services set forth in the Application, on the

    terms set forth in the Application; and

          2.       The compensation of PSZJ shall be subject to Court approval in accordance with

    Sections 330 and 331 of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and

    the Local Rules of this Court, including procedures established under Local Bankruptcy Rule

    2016-1.

                                                   ###

                  CERTIFICATION OF COMPLIANCE WITH LBR 9021-1(a)(2)(A)

               I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).

   PRESENTED BY:

   LEONARD LAW GROUP LLC
            [DRAFT/UNSIGNED]
      Justin D. Leonard, OSB 033736
      Timothy A. Solomon, OSB 072573
      Holly C. Hayman, OSB 114146
   Proposed Local Counsel for Official Committee of Unsecured Creditors

   c:     ECF Participants
          Interested Parties by US Mail




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              PACHULSKI STANG ZIEHL & JONES LLP AS COUNSEL          EXHIBIT
                                                              1 SW Columbia,  Ste. 1010A
              FOR THE UNSECURED CREDITORS COMMITTEE             Portland, Oregon 97204
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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON
In re                                )
Wall to Wall Tile & Stone, LLC       )           19-32600-dwh11
                                       Case No. ________________
Wall to Wall Tile & Stone-Oregon LLC )           (Lead Case)
Wall to Wall Tile & Stone-Idaho LLC ) RULE 2014 VERIFIED STATEMENT
Debtor(s)                            ) FOR PROPOSED PROFESSIONAL

Note: To file an amended version of this statement per ¶19, file a fully completed amended Rule 2014
statement on LBF #1114 and clearly identify any changes from the previous filed version.

 1. The applicant is not a creditor of the debtor except:
N/A

 2. The applicant is not an equity security holder of the debtor.

 3. The applicant is not a relative of the individual debtor.

 4. The applicant is not a relative of a general partner of the debtor (whether the debtor is an individual,
    corporation, or partnership).

 5. The applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    is a general partner.

 6. The applicant is not a general partner of the debtor (whether debtor is an individual, corporation, or
    partnership).

 7. The applicant is not a corporation of which the debtor is a director, officer, or person in control.

 8. The applicant is not and was not, within two years before the date of the filing of the petition, a
    director, officer, or employee of the debtor.

 9. The applicant is not a person in control of the debtor.

10. The applicant is not a relative of a director, officer or person in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was not an investment banker for any outstanding security of the debtor;
    has not been, within three years before the date of the filing of the petition, an investment banker
    for a security of the debtor, or an attorney for such an investment banker in connection with the
    offer, sale, or issuance of a security of the debtor; and is not and was not, within two years before
    the date of the filing of the petition, a director, officer, or employee of such an investment banker.

13. The applicant has read 11 U.S.C. §101(14) and §327, and FRBP 2014(a); and the applicant’s firm
    has no connections with the debtor(s), creditors, any party in interest, their respective attorneys and
    accountants, the United States Trustee, or any person employed in the office of the United States
    Trustee, or any District of Oregon Bankruptcy Judge, except as follows:
See Attachment for Disclosures




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14. The applicant has no interest materially adverse to the interest of the estate or of any class of
    creditors or equity security holders.

15. Describe details of all payments made to you by either the debtor or a third party for any services
    rendered on the debtor's behalf within a year prior to filing of this case:
None




16. The debtor has the following affiliates (as defined by 11 U.S.C. §101(2)). Please list and explain
    the relationship between the debtor and the affiliate:
According to the Rule 2014 Verified Statement of Proposed Professional of Tonkon Torp LLP
(attorneys for Debtor) (Docket No. 5):
Tyler Kruckenberg is the 100% owner of the Joint Debtors (listed in the caption above), as well as W2W
Stone Holdings, LLC (a Washingon LLC) and Wall to Wall Install Corp. (a Washington corporation).



17. The applicant is not an affiliate of the debtor.

18. Assuming any affiliate of the debtor is the debtor for purposes of statements 4-13, the statements
    continue to be true except (list all circumstances under which proposed counsel or counsel's law
    firm has represented any affiliate during the past 18 months; any position other than legal counsel
    which proposed counsel holds in either the affiliate, including corporate officer, director, or
    employee; and any amount owed by the affiliate to proposed counsel or its law firm at the time of
    filing, and amounts paid within 18 months before filing):
N/A; None




19. The applicant hereby acknowledges that he/she has a duty during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in this verified statement.
    In the event that any such changes occur, the applicant immediately shall file with the court an
    amended verified statement on LBF #1114, with the caption reflecting that it is an amended Rule
    2014 statement and any changes clearly identified.

THE FOLLOWING QUESTIONS NEED BE ANSWERED ONLY IF AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever filed bankruptcy, the filing date, and court where filed:
According to the Rule 2014 Verified Statement of Proposed Professional of Tonkon Torp LLP
(attorneys for Debtor) (Docket No. 5):
The Joint Debtors (as listed in the caption above) all filed on July 16, 2019 in this Court.



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                           Case 19-32600-dwh11         Doc 90   Filed 08/09/19
21. List the names of any affiliates which have guaranteed debt of the debtor or whose debt the debtor
    has guaranteed. Also include the amount of the guarantee, the date of the guarantee, and whether
    any security interest was given to secure the guarantee. Only name those guarantees now
    outstanding or outstanding within the last 18 months:
According to the Rule 2014 Verified Statement of Proposed Professional of Tonkon Torp LLP
(attorneys for Debtor) (Docket No. 5):
"Tyler Kruckenberg provided an unsecured guaranty in the amount of $3,000,000 for the obligations
under the Credit Agreement dated 8/21/2018 with Wells Fargo Bank, NA. The balance owed on said
Credit Agreement is approximately $6,563,565.03."




22. List the names of any affiliates which have a debtor-creditor relationship with the debtor. Also
    include the amount and date of the loan, the amount of any repayments on the loan and the
    security, if any. Only name those loans now outstanding or paid off within the last 18 months:
According to the Rule 2014 Verified Statement of Proposed Professional of Tonkon Torp LLP
(attorneys for Debtor) (Docket No. 5):
"Debtor owes Tyler Kruckenberg (100% owner of Debtor) approximately $126,000. Debtor owes Wall to
Wall Stone Holdings, LLC (100% owned by Tyler Kruckenberg) approximately $179,439.94."




23. List any security interest in any property granted by the debtor to secure any debts of any affiliate
    not covered in statements 20 and 21. List any security interest in any property granted by the
    affiliate to secure any debts of the debtor not covered in statements 21 and 22. Also include the
    collateral, the date and nature of the security interest, the name of the creditor to whom it was
    granted, and the current balance of the underlying debt:
See Rule 2014 Verified Statement of Proposed Professional of Tonkon Torp LLP (attorneys for Debtor)
(Docket No. 5), summarized as follows: The Joint Debtors are co-borrowers under the following:
-- Loan dated 8/21/2018 with Wells Fargo Bank, NA of approx. $6,563,565, secured by account
receivables and other rights to payment, general intangibles, inventory, and equipment.
-- Loan dated 8/30/2018 with Wells Fargo Equipment Finance, Inc. of approx. $2,364,749, secured by
property described in each loan schedule.
-- Loan dated 3/1/2019 with Baffco Enterprises, LLC of $5,000,000, secured by personal property,
general intangibles, accounts, etc., subordinated to Wells Fargo under a 3/1/19 agreement.
24. List the name of any affiliate who is potentially a "responsible party" for unpaid taxes of the debtor
    under 26 U.S.C. §6672:
None




I verify that the above statements are true to the extent of my present knowledge and belief.


                                                               ________________________________
                                                               /s/ Jason H. Rosell
                                                                              Applicant

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                      SUPPLEMENTAL DISCLOSURES FOR RULE
              2014 VERIFIED STATEMENT FOR PROPOSED PROFESSIONAL


QUESTION 13 – Continuation Statement re “Connections”

         1.      To the best of my knowledge, based on the representations in this verified statement,

and except as otherwise stated here, the Firm is “disinterested” in that it has no connection with
the Debtors, their creditors, any other party in interest herein, their respective attorneys or
professionals, the United States Trustee, or any person employed in the Office of the United States

Trustee.
         2.      The Firm has made the following investigation of potential adverse interests prior to
submitting this verified statement. The Firm has undertaken a full and thorough review of its
computer database which contains the names of clients and other parties interested in particular
matters. The Firm requires all of its professionals, before accepting the representation of a new
client, or the representation of an existing client in a new matter, to perform a conflicts check
through the Firm’s database and to enter into that database conflict information regarding new
clients or new matters. Thus, a review of said computerized database should reveal any and all
actual or potential conflicts of interest with respect to any given representation.
         3.      Based on the Firm’s conflict check within its database, the Firm has not encountered
any creditors of the Debtors in which an actual conflict exists between the Firm and such creditors.
If, at any time during the course of this proceeding, the Firm learns of any representation which
may give rise to a conflict, the Firm will promptly file with the Court an amended Rule 2014
Verified Statement identifying and specifying such involvement.
         4.      PSZJ and certain of its attorneys have represented and in the future will likely
represent creditors of the Debtors in connection with matters unrelated to the Debtors and these
cases.




DOCS_SF:101661.2 92001/002


                             Case 19-32600-dwh11     Doc 90    Filed 08/09/19
        5.       PSZJ represented, represents, and in the future will likely represent creditors’
committees in matters unrelated to the Debtors and these cases whose members may be creditors

and/or committee members in these cases.
        6.       The Firm has represented, represents, and, in the future, will likely represent debtors,
creditors’ committees, and other parties in cases unrelated to the Debtors and these cases wherein
one or more of the firms or professionals involved in these cases representing the Debtors or other
parties-in-interest serve as or will serve as professionals in those other cases.
        7.       The Firm does not represent any entity having an adverse interest in connection with
these cases.
        8.       The Firm represents many debtors and committees in other bankruptcy cases, and
those debtors, the members of those committees, or those estates may be creditors of the Debtors.
However, the Firm will not represent any members of those debtors, committees or their members
with respect to any claims that they may have collectively or individually against the Debtors.
        9.       The foregoing disclosures are submitted as of August 1, 2019 and will be
supplemented as needed, including after review of the Debtors’ schedules of assets and liabilities
and statements of financial affairs, which have not yet been filed.




DOCS_SF:101661.2 92001/002


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                                  CERTIFICATE OF SERVICE

                  I certify that on the date below, I caused notice of the filing of this
  APPLICATION TO EMPLOY PACHULSKI STANG ZIEHL & JONES LLP AS LEAD
  COUNSEL FOR THE UNSECURED CREDITORS COMMITTEE to be served on
  interested parties requesting notice through the Court’s CM/ECF system, as well as by first class
  U.S. mail on the following parties:


                ODR Bkcy.
                955 Center St NE
                Salem, OR 97301-2555



         DATED: August 9, 2019


                                                 By: /s/ Timothy A. Solomon
                                                     Timothy A. Solomon, OSB 072573




Page 1 – CERTIFICATE OF SERVICE                                                LEONARD LAW GROUP LLC
                                                                                   1 SW Columbia, Ste. 1010
                                                                                      Portland, Oregon 97258
                                                                                             leonard-law.com

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